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                                                                              2022 Jun-16 PM 01:41
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION
      _______________________________________
                                          )
      STATE OF ALABAMA, et al.            )
                                          )
                           Plaintiffs,    )
           v.                             )   No. 4:22-cv-00418-CLM
                                          )
      ALEJANDRO MAYORKAS, et al.          )
                                          )
                           Defendants.    )
      ____________________________________)

             UNOPPOSED MOTION TO EXPAND PAGE LIMIT
      Defendants respectfully move the Court to extend the page limitation for

Defendants’ motion to dismiss to 20 pages. Expanded briefing will allow Defendants

to provide necessary legal and factual background that will aid in the Court in

resolving the motion. Plaintiffs are unopposed to this request.

Dated: June 16, 2022                   Respectfully submitted,

                                       BRIAN M. BOYNTON
                                       Principal Deputy Assistant Attorney General

                                       BRIGHAM J. BOWEN
                                       Assistant Branch Director

                                        /s/ Brian Rosen-Shaud
                                       BRIAN C. ROSEN-SHAUD
                                       ME Bar No. 006018
                                       Trial Attorney
                                       ADAM D. KIRSCHNER
                                       IL Bar. No. 6286601
                                       Senior Trial Counsel
                                       MICHAEL F. KNAPP

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                                      CA Bar No. 314104
                                      KUNTAL CHOLERA
                                      DC Bar No. 1031523
                                      Trial Attorneys
                                      United States Department of Justice
                                      Civil Division, Federal Programs Branch
                                      Tel: (202) 305-7667
                                      Fax: (202) 616-8460
                                      Email: Brian.C.Rosen-Shaud@usdoj.gov
                                             Adam.Kirschner@usdoj.gov
                                             Michael.F.Knapp@usdoj.gov
                                             Kuntal.Cholera@usdoj.gov
                                      Mailing Address:
                                      Post Office Box 883
                                      Washington, D.C. 20044
                                      Courier Address
                                      1100 L Street NW
                                      Washington, D.C. 20005

                                      EREZ REUVENI
                                      CA Bar No. 264124
                                      Assistant Director
                                      U.S. Department of Justice
                                      Civil Division, Office of Immigration
                                      Litigation
                                      P.O. Box 868, Ben Franklin Station
                                      Washington, D.C. 20044
                                      202-307-4293 (telephone)
                                      Email: Erez.R.Reuveni@usdoj.gov

                                      Counsel for Defendants


                           CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed

electronically (via CM/ECF) on June 16, 2022.

                                      /s/ Brian Rosen-Shaud
                                      BRIAN C. ROSEN-SHAUD
